                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DMSION
                                  No. 4:17-CV-151-D


NICHOLAS SPARKS,                              )
                                              )
                               Plaintiff,     )
                                              )
                    v.                        )
                                              )                              ORDER     1


SELECTIVE INSURANCE COMPANY                   )
OF THE SOUTHEAST,                             )
                                              )
                               Defendant.     )


       ·The court GRANTS plaintiff's motion to lift the stay and amend the complaint [D.E. 47].

Plaintiff's unfair and deceptive trade practices claim and breach of duty of good faith and fair

dealing claim eke across the plausibility line. Whether the claims will survive defendant's inevitable

motion for summary judgment is an issue for another day. Plaintiff shall file the second amended

complaint not later than October 12, 2021. The parties shall meet and confer concerning a proposed

scheduling order. The court anticipates a discovery period ofno more than 180 days.

       SO ORDERED. This _j_ day of October, 2021.




                                                      JSC.DEVERID
                                                      United States District Judge




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